          Case 0:21-mj-06112-AOV Document 2 Entered on FLSD Docket 03/01/2021 Page 1 of 1
                                                COURT M INUTES/ORDER
                          United States M agistrate Judge Alicia 0 .Valle
                                   Courtroom 310                                                      Date:3/1/2021                       Time:11:00am .         ,


 Defendant: PeterGeracetl)                                       J#:                case#:21-6112-AOV
 AUsA:Jam Usknoski , *                                 Oos.                 Attorney:tlou
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 Proceeding:lnitialAppearance-Rule 40/5 Removal        CJA Appt:
 Bond/PTD Held:U Yes L: ' No
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         Surrenderand/ordonotobtainpassports/traveldocs 1-0@'
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         ReporttoPTSas directed/or            x'saweek/monthby                               Disposition:
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                           ''-e'ek/monthinperson                                                    '
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         Refrain from excessive useofalcohol                                                           '                                           -     '
  s Participate in m entalhealth assessment& treatm ent                                       -                                           '              -
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  -                                                                                                       v.                    r.. '                        '
        Maintainorseekfull-timeemployment/education                                               '
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        N0contactwithvictims/witnesses/tlç.
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        religious,em ploym ent
        Travelextendedto:S f'                                   ko y.y
        Other: -.             . iqx-                            .        . .
NEXT COURT APPEARANCE pate;                                     yi
                                                                 me:               Judge:                                       pjace:
ReportRE Counsel;
PTD/Bond Hearing;
Prelim/ArraignorRemoval:
Status Conference RE:
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  CHECK IFAPPLICABLE:          Forthe reasonsstated bycounselforthe Defendantandfi
  grantingthe ore tenus m otion forcontinuance to hire counseloutweigh the best int ndingthattheendsofjusticeserved by
  S                                                                                 erestsofthe public& the Defendantin a
   peedy Trial,the Courtfindsthatthe period oftim e from today, through and including
                                                                                                    . shal
                                                                                                         lbe deem ed
  excludable in accordance w ith the provisionsofthe Speedy TrialAct, 18 USC 3161 etseq..
